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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                      CRIMINAL MINUTES—GENERAL
                                                                                                              Page 1 of 1
Case No.      CR 21-579-DMG                                                                      Date   April 6, 2022

Present: The Honorable       DOLLY M. GEE, UNITED STATES DISTRICT JUDGE
Interpreter     N/A
               Kane Tien                                Laura Elias                              Jeff P. Mitchell - VTC
              Deputy Clerk                              Court Reporter                            Assistant U.S. Attorney

U.S.A. v. Defendant(s):               Present   Cust.      Bond    Attorneys for Defendant(s):            Present   Appt.    Ret.
Matthew Funke - VTC                                              Nathan J. Hochman - VTC                                      

    Proceedings: GUILTY PLEA HEARING

    X         The hearing was held via videoconference. Defendant orally consented to a videoconference
              appearance and waived his in-person appearance. The Court made findings on the record
              justifying proceeding via videoconference.

    X         Defendant is sworn and waiver of Defendant’s Constitutional Rights is taken. Defense counsel
              joins in waiver of Defendant’s Constitutional Rights.

    X         Defendant enters a plea of GUILTY to Counts 1 and 2 of the Information.

    X         The Court questions Defendant regarding plea of GUILTY, and finds a factual and legal basis for
              the plea, the plea is free of any coercive influence, and the plea is voluntarily made with full
              knowledge of the charges against Defendant and the consequences of the plea; that, aside from
              the written Plea Agreement, there have been no promises of any kind made to Defendant by
              anyone and no threats or coercion have been exerted upon Defendant in any manner. The Court
              ORDERS the plea accepted and entered.

    X         The Court refers Defendant to the Probation Office for a pre-sentence report and continues the
              matter to August 31, 2022 at 11:00 a.m. for sentencing. Defendant is ordered to appear. Bail to
              stand.

    X         The Court GRANTS the Government’s oral request to UNSEAL this action.

    X         Other: Counsel shall comply with the Federal Rules of Criminal Procedure. The
              Government’s Sentencing Position is due at least two weeks prior to the sentencing date.
              Defendant’s Sentencing Position is due at least one week before the sentencing date. If
              there are no position papers, counsel are directed to file a notice of non-opposition. Late
              filing of position papers, other than letters of support, may cause a postponement of the
              sentencing hearing.

    cc:        USPO                                                                                                  :31

    CR-08                               CHANGE OF PLEA MINUTE ORDER                                Initials of Deputy Clerk KT
